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                                                                                                      ATTACHMENT FM-1013
  N AME AND ADDRESS OF PARTY OR ATTORNEY FOR PARTY:                 TELEPHONE NUMBER.                 FOR COURT USE ONLY


       ~~~ ~*~


  ~35~a~t~~~~~~~~~,I~ ~~                                                                     FILED -SOUTHERN DIVISION
                                                                                             CLERit, U.S. DISTRICT COURT
  ATTORNEY FOR (Name):

'~i1        9~COURT OF CALIFORNIA,                                                                    f~
                                                                                                       , ~      ( Za23
       STREET ADDRESS:                                                                                ~q{
       MAILING ADDRESS:                                                                                                          '
       CITYAND ZIP CODE:                                                                    C     ~ U~c^
          BRANCH NAME:                                                                     ~BY                             --                 1
                              bane DOe                                                  CASE NUMBER:
             PETITIONER:

           RESPONDENT'        U111t2d Scat@S, DCA 1976
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                                                                                                                      R~

                                                                                        DEPARTMENT NUMBER:
  DECLARATION IN SUPPORT OF EX PARTE APPLICATION FOR ORDERS
                                                                                        FCS NUMBER:

  I , the undersigned, declare:                                                              ~~~ ~~
  1 . I am (choose one):
         a. 0attorney for Petitioner                  ❑ attorney for Respondent             ❑ attorney for children)
         b. ❑self-represented Petitioner              ❑ self-represented Respondent
         c. ❑other (explain):
 2.     The opposing party or minor children is represented by an attorney: ❑Yes ~]/ No
        (If you checked "Yes", fill in the name, address, and telephone number of all attorneys.
         If you checked "No", fill in the other party's name address, and telephone number.)
        Party/Attorney name:
        Address/Telephone number:
        Child's attorney name and address:
 3.     OTHER CASES: Have the parties to this case been involved in another Family, Probate Juvenile, or Criminal Court
        Case? ❑Yes ~]/ No If there has been another case, fill in the case number:
 4.     OTHER APPLICATIONS: I or another party ❑ have ~ have not made previous applications) on the same issue.
        Orders were ❑were not ~ granted on the prior application(s). Explain in your declaration.
 5.     NOTICE
           HAVE given notice to all opposing parties and/or their attorney by the following method:
          ❑ Personal delivery ❑Fax ❑Overnight Carrier ❑First Class Mail ❑Other:
          Date:                           Time:                      Person who received:
           have received confirmation that the other party has received my papers as follows: (Check one below)
          ❑ In person/telephone (describe):
          ❑ Written confirmation of receipt
           ask the Court not to require notice of the ex parte request for orders because(Check all that apply. In
          the space provided below in 5.c. and on any attached pages or a separate sworn declaration, you must
          give facts that support a request not to give notice for each box you check in 5.b.(except for Domestic
          Violence Prevention Act(DVPA) restraining orders):
          ❑ This is an application for Domestic Violence Prevention Act(DVPA) restraining orders.
          ❑ This application involves a matter not requiring notice under State Rutes, Rule 5.170;
          ~ Giving notice would frustrate the purpose of the order;
          Q Giving notice would result in immediate and irreparable harm to the applicant or the children who may be
              affected by the order sought;
          Q Giving notice would result in immediate and irreparable damage to or loss of property subject to disposition
              i n the case;
          ❑ The parties agreed in advance that notice will not be necessary with respect to the matter that is the subject
              of the request for emergency orders. Provide documentation of this agreement; and/or,


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                                                                                                    ATTACHMENT FM-1013
      PETITIONER:      bane DOe
                                                                                        CASE NUMBER
    RESPONDENT:        Ufllted StBt@5, DCA 1976                                        Z,•2~•~v~0~t2~~~V{~l~ ~KEs~


            ❑ The party made reasonable and good faith efforts to give notice to the other party, and further efforts
                                                                                                                      to give
              notice would probably be futile or unduly burdensome (describe those efforts in detail below).
            ❑ Other:
        c. Further Explanation for Asking the Court NOT to Require Notice:
           ❑ Additional pages are attached. Total number of attached pages:
           ~ Provide detailed factual explanation of any box checked under Paragraph 5.b. above. If you do
                                                                                                           not have
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                                                            s ac~c~itiona~r~repar~bpe harm; which by Nato

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                nrnvirlP rmm~lata lawvar cPrviraG fnr siihiartc of rata 1 Y~gnt camQ~c                         _aant that riinlatarl
                the plaintiff on orang . o ~n police department a~ of 2021. Probably ~itting~p with an
                open beer bottle with an state regstered legal full automatic sub-machine gun. On a side
                note Americas support of constitution relating to Afghanistan Nato invasion withdraw might
                be an domestic employment issue??? Ultimately, this emergency lawsuit/ex pane concerns
                serious civil ri hts trespass, so by criminal conspiracy aftermaths' defendants intentions will
                be investigated as unmistaken consciona e conduct. heres is guarantee factual
                evi ence o goo cause at e en ant e fi nite y won sow up yin ivi ua or o icia
                capaci y un er co or o aw an as no pro a e e ense or o ense o s ow up.




   declare under penalty of perjury that the forgoing and any statement on attached pages are true and correct.

                                                                                                                   ~.~~

 Date                                        Print Name                                         Signature of Declarant



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